      Case: 4:18-cv-00118-DMB-JMV Doc #: 2 Filed: 07/23/18 1 of 2 PageID #: 13


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

DIANNE LODEN, individually and on
behalf of all wrongful death beneficiaries
of JEFFREY A. DAVIS
                Plaintiff
v.                                                                CIVIL ACTION NO.:
                                                                 4:18-CV-118-DMB-JMV
MISSISSIPPI DEPARTMENT OF
CORRECTIONS; CENTURION OF
MISSISSIPPI and DEFENDANT
DOES 1 through 10
             Defendants

                              SUMMONS IN A CIVIL ACTION
TO:    Centurion of Mississippi, LLC
       C. T. Corporation System
       645 Lakeland Drive East, Suite 101
       Flowood, MS 39232

       A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received

it) — or 60 days if you are the United States or a United States agency, or an officer or employee

of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the

plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of

Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,

whose name and address are: Jeffrey D. Leathers, 117 North Broadway Street, PO Box 907,

Tupelo, MS 38802.

       If you fail to respond, judgment by default will be entered against you for the relief

demanded in the complaint. You also must file your answer or motion with the court.


                                                     _________________________
                                                      s/E.Certion
                                                     Clerk of Court , David Crews
                                                     by Deputy Clerk
Dated ____________
       7/23/2018
      Case: 4:18-cv-00118-DMB-JMV Doc #: 2 Filed: 07/23/18 2 of 2 PageID #: 14


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DOES 1 through 10
             Defendants

                              SUMMONS IN A CIVIL ACTION
TO:    Mississippi Department
       Of Corrections
       Attorney General’s Office
       P. O. Box 220
       Jackson, MS 39205

       A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received

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                                                      s/E.Certion
                                                     Clerk of Court , David Crews
                                                      by Deputy Clerk
Dated ____________
       7/23/2018
